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16
                              UNITED STATES DISTRICT COURT
17
                            NORTHERN DISTRICT OF CALIFORNIA
18
                                          OAKLAND DIVISION
19
20
21   EPIC GAMES, INC.,                              CASE NO. 20-CV-05640-YGR

22        Plaintiff, Counter-defendant,
23                                                 APPLE INC.’S LIST OF
          v.
                                                   EXPERT WITNESSES
24
     APPLE INC.,
25                                                 The Honorable Yvonne Gonzalez Rogers
          Defendant, Counterclaimant.
26                                                 Trial: May 3, 2021
27
28

                              APPLE INC.’S EXPERT WITNESS LIST
                                Case No. 4:20-cv-05640-YGR-TSH
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 1          Pursuant to the Court’s Standing Order re: Pretrial Instructions in Civil Cases, Defendant
 2   and Counterclaimant Apple Inc. (“Apple”) identifies the expert witnesses whom it is likely to call
 3   at trial. Pursuant to the Court’s schedule for expert discovery, Apple previously served on
 4   Plaintiff Epic Games, Inc. (“Epic”) the reports prepared by these expert witnesses, which set forth
 5   their opinions and the bases therefor. Each of these experts also may respond to the opinions
 6   offered by Epic’s experts.
 7
         Expert                   Reports             Summary of Expert’s          Curriculum Vitae
 8
         Witness                                       Opinions and Their
 9                                                              Bases
      Professor       Professor Rubin submitted      Professor Rubin opines       Professor Rubin’s
10    Aviel Rubin     expert reports on February     generally on the             curriculum vitae is
11                    16, 2021 and March 15,         reliability, security, and   attached hereto as
                      2021; Professor Rubin’s        privacy afforded by the      Exhibit B.
12                    March 15, 2021 report          iOS ecosystem. A
                      integrates, incorporates the   summary of Professor
13                    material from, and replaces    Rubin’s opinions and
14                    his February 16, 2021          the bases therefor is set
                      report.                        forth in the Executive
15                                                   Summary attached
                                                     hereto as Exhibit A.
16    Professor       Professor Rubinfeld            Professor Rubinfeld          Professor
17    Daniel          submitted expert reports on    opines on antitrust          Rubinfeld’s
      Rubinfeld       February 16, 2021 and          economics, including on      curriculum vitae is
18                    March 15, 2021; Professor      IP licensing and             attached hereto as
                      Rubinfeld’s March 15,          innovation, the license      Exhibit D.
19
                      2021 report integrates,        terms and product
20                    incorporates the material      design challenged by
                      from, and replaces his         Epic, and the
21                    February 16, 2021 report.      procompetitive effects
                                                     of those terms and
22
                                                     designs. A summary of
23                                                   Professor Rubinfeld’s
                                                     opinions and the bases
24                                                   therefor is set forth in
25                                                   the Executive Summary
                                                     attached hereto as
26                                                   Exhibit C.
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                                  APPLE INC.’S EXPERT WITNESS LIST
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     Professor    Professor Hanssens             Professor Hanssens          Professor
 1
     Dominique    submitted expert reports on    opines generally on         Hanssens’s
 2   Hanssens     February 16, 2021 and          consumer device usage       curriculum vitae is
                  March 15, 2021; Professor      surveys. A summary of       attached hereto as
 3                Hanssens’s March 15, 2021      Professor Hanssens’s        Exhibit F.
 4                report integrates,             opinions and the bases
                  incorporates the material      therefor is set forth in
 5                from, and replaces his         the Executive Summary
                  February 16, 2021 report.      attached hereto as
 6                                               Exhibit E.
 7   Professor    Professor Lafontaine           Professor Lafontaine        Professor
     Francine     submitted expert reports on    opines generally on         Lafontaine’s
 8   Lafontaine   February 16, 2021 and          antitrust economics,        curriculum vitae is
                  March 15, 2021, as well as     including the proper        attached hereto as
 9                a March 17, 2021               framework for defining      Exhibit H.
10                supplement to her March        the relevant market and
                  15, 2021 report; Professor     assessing market power
11                Lafontaine’s March 15,         and market effects. A
                  2021 report, with its March    summary of Professor
12                17, 2021 supplement,           Lafontaine’s opinions
13                integrates, incorporates the   and the bases therefor is
                  material from, and replaces    set forth in the
14                her February 16, 2021          Executive Summary
                  report.                        attached hereto as
15
                                                 Exhibit G.
16   Professor    Professor Hitt submitted       Professor Hitt opines       Professor Hitt’s
     Lorin Hitt   expert reports on February     generally on antitrust      curriculum vitae is
17                16, 2021 and March 15,         economics and reports       attached hereto as
18                2021, as well as a March       on the results of           Exhibit J.
                  17, 2021 supplement and        empirical data analyses
19                March 30, 2021 errata to       related to market
                  his March 15, 2021 report;     definition, market power
20                Professor Hitt’s March 15,     and competitive effects.
21                2021 report, with its March    A summary of Professor
                  17, 2021 supplement and        Hitt’s opinions and the
22                March 30, 2021 errata,         bases therefor is set
                  integrates, incorporates the   forth in the Executive
23                material from, and replaces    Summary attached
24                his February 16, 2021          hereto as Exhibit I.
                  report.
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                            APPLE INC.’S EXPERT WITNESS LIST
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     Professor     Professor Schmalensee         Professor Schmalensee       Professor
 1
     Richard       submitted expert reports on   opines generally on         Schmalensee’s
 2   Schmalensee   February 16, 2021 and         antitrust economics,        curriculum vitae is
                   March 15, 2021; Professor     including two-sided         attached hereto as
 3                 Schmalensee’s March 15,       transaction platforms       Exhibit L.
 4                 2021 report integrates,       and their implications
                   incorporates the material     for market definition,
 5                 from, and replaces his        market power, and
                   February 16, 2021 report.     competitive effects in
 6                                               this case. Professor
 7                                               Schmalensee also opines
                                                 regarding Epic’s tying
 8                                               claim, including the lack
                                                 of economic support for
 9                                               Epic’s tying claim and
10                                               the procompetitive
                                                 justifications for
11                                               Apple’s conduct. A
                                                 summary of Professor
12                                               Schmalensee’s opinions
13                                               and the bases therefor is
                                                 set forth in the
14                                               Executive Summary
                                                 attached hereto as
15
                                                 Exhibit K.
16   James       Mr. Malackowski                 Mr. Malackowski opines      Mr. Malackowski’s
     Malackowski submitted expert reports on     generally on Apple’s        curriculum vitae is
17               February 16, 2021 and           efforts at innovation,      attached hereto as
                 March 15, 2021; Mr.             and the resulting           Exhibit N.
18
                 Malackowski’s March 15,         intellectual property
19               2021 report integrates,         assets. A summary of
                 incorporates the material       Mr. Malackowski’s
20               from, and replaces his          opinions and the bases
21               February 16, 2021 report.       therefor is set forth in
                                                 the Executive Summary
22                                               attached hereto as
                                                 Exhibit M.
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                             APPLE INC.’S EXPERT WITNESS LIST
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     DATE: April 14, 2021               GIBSON DUNN & CRUTCHER LLP
 1
                                        /s/   Richard J. Doren
 2                                            Richard J. Doren
 3
                                        Attorney for Defendant and Counterclaimant
 4                                      Apple Inc.
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                            APPLE INC.’S EXPERT WITNESS LIST
                              Case No. 4:20-cv-05640-YGR-TSH
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